                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

 KHOLKAR VISHVESHWAR GANPAT,                                    CIVIL DOCKET
    Plaintiff

 VERSUS                                                         NO. 18-13556

 EASTERN PACIFIC SHIPPING, PTE. LTD,                            SECTION: “E” (4)
     Defendant


                 ORDER AND AMENDED SCHEDULING ORDER

       Considering the foregoing Motion to Amend Scheduling Order (R. Doc. 330);

       IT IS ORDERED that the Motion is GRANTED.

       IT IS FURTHER ORDERED that the parties are to comply with the following

pretrial deadlines.

 Depositions and discovery                         Completed by August 23, 2022

 Failure to comply with this order may             (except that leave is granted to
 result in sanctions pursuant to Rule 37           take the following discovery out of
                                                   time: (1) Rule 30(b)(6) depositions
                                                   by September 2, 2022; and (2)
                                                   expert depositions and discovery
                                                   by September 23, 2022)
 Motion for leave of court to conduct additional   Filed and served no later than
 discovery                                         August 23, 2022, at 5:00 p.m.

                                                   (except that leave is granted to file
                                                   any such motion with respect to
                                                   Rule 30(b)(6) discovery by
                                                   September 2, 2022, and with
                                                   respect to expert depositions and
                                                   discovery by September 23,
                                                   2022)
 Rule 30(b)(6) depositions                         Completed by September 2,
                                                   2022
 Expert depositions and discovery                  Completed by September 23,
                                                   2022


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Non-evidentiary pretrial motions and motions        Filed and served no later than
in limine regarding the admissibility of expert     September 30, 2022
testimony
                                                    (in sufficient time to permit a
See Scheduling Order at pp. 6-7 regarding           submission date on or before
the format of depositions                           October 14, 2022)
Responses/oppositions to non-evidentiary            Filed and served no later than
pretrial motions and motions in limine              October 6, 2022
regarding the admissibility of expert testimony
Pretrial order                                      Filed by Monday, October 17,
                                                    2022 at 5:00 p.m.
Any exhibits to be used solely for impeachment      Monday, October 17, 2022 at
must be presented to the Court for in camera        5:00 p.m.
review by this deadline.

See Section IX, subpart 10.b of the
pretrial notice at p. 5
Pretrial conference                                 October 20, 2022 at 12:00
                                                    p.m.
Attended by lead attorney
(See Local Rule 11.2)
Motions in limine (other than those regarding       Filed no later than October 20,
the admissibility of expert testimony) and          2022 at 5:00 p.m.
memoranda in support
Responses to motions in limine                      Filed by October 27, 2022 at
                                                    5:00 p.m.
Final list of witnesses to be called at trial       Filed no later than October 27,
                                                    2022 at 5:00 p.m.
Joint statement of the case                         Filed by October 31, 2022 at
                                                    5:00 p.m.
See pretrial notice at p. 8
Joint jury instruction (or if agreement cannot be   Filed, emailed, and delivered to
reached, counsel shall provide alternate versions   the Court by October 31, 2022 at
with respect to any instruction in dispute, with    5:00 p.m.
its reasons for putting forth an alternative
instruction and the law in support thereof

See pretrial notice at pp. 8-9




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Joint proposed jury verdict form (or if           Filed and emailed to the Court by
agreement cannot be reached, separate             October 31, 2022 at 5:00 p.m.
proposed jury verdict forms and a joint
memorandum explaining the disagreements
between the parties as to the verdict form)

See pretrial notice at p. 9
Proposed special voir dire questions              Filed by October 31, 2022 at
                                                  5:00 p.m.
See pretrial notice at p. 9
Two copies of joint bench book(s) of tabbed       Delivered to the Court by October
exhibits, with indices of "objected-to" and       31, 2022 at 5:00 p.m.
"unobjected-to" exhibits, identifying which
party will offer each exhibit and which witness
will testify regarding the exhibit at trial

See pretrial notice at pp. 5-6
Objections to exhibits and supporting             Filed by October 31, 2022 at
memoranda                                         5:00 p.m.

NOTE: Each objection must identify the
relevant objected-to exhibit by the number
assigned to the exhibit in the joint bench
book(s)

See pretrial notice at pp. 4-5
Objections to deposition testimony and            Filed and delivered to the Court by
supporting memoranda                              October 31, 2022 at 5:00 p.m.

See pretrial notice at pp. 6-7 with
particular attention to instructions
regarding the format of depositions
Responses to objections to exhibits               Filed by November 2, 2022 at
                                                  5:00 p.m.
See pretrial notice at p. 5
Responses to objections to deposition testimony   Filed by November 2, 2022 at
                                                  5:00 p.m.
See pretrial notice at p. 7




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If counsel intends to ask questions on cross-         The factual elements of such
examination of an economic expert which               questions shall be submitted to the
require mathematical calculations                     expert witness by November 2,
                                                      2022 at 5:00 p.m.
See pretrial notice at p. 8
Copies of any charts, graphs, models, schematic       Provided to opposing counsel by
diagrams, and similar objects intended to be          November 2, 2022 at 5:00
used in opening statements or closing                 p.m.
arguments

See pretrial notice at pp. 6-7
Objections to any charts, graphs, models,             Filed by November 3, 2022 at
schematic diagrams, and similar objects               5:00 p.m.
intended to be used by opposing counsel in
opening statements or closing arguments

See pretrial notice at p. 7
Jury trial                                            November 14, 2022 at 9:00
                                                      a.m.
Whenever a case is settled or otherwise disposed      (estimated to last 5 days)
of, counsel must immediately inform the clerk's
office, judge to whom the case is allotted, and all
persons subpoenaed as witnesses. If a case is
settled as to fewer than all parties or all claims,
counsel must also identify the remaining parties
and unsettled claims.

See Local Rule 16.4


      New Orleans, Louisiana, this 23rd day of August, 2022.


                                          _______ _____________ __________
                                                   SUSIE MORGAN
                                            UNITED STATES DISTRICT JUDGE




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